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                                  UNITED STATES DISTRICT COURT
                                            For the District of Columbia

   United States of America                                     )
                          Plaintiff                             )
                             v.                                 )      Criminal Case No. 1:19-CR-00018-ABJ
  Roger J. Stone                                                )
                                                                )
                          Defendant                             )

                      SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                 OR TO PERMIT INSPECTION OF PREMISES

To:       CROWDSTRIKE HOLDINGS, INC.                                To:     CROWDSTRIKE HOLDINGS, INC.
          c/o George Kurtz                                                  c/o CSC – Lawyers Incorporating Service
          President and CEO                                                 2710 Gateway Oaks Drive, Suite 150N
          CrowdStrike Holdings, Inc.                                        Sacramento, California 95833
          150 Mathilda Place, Suite 300                                     (800) 927-9800
          Sunnyvale, California 94086
          (888) 512-8906

(Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following documents,
electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material:

         All unredacted copies, drafts and final reports of CrowdStrike:
                 DRAFT DC3FILE01 ANALYSIS DCCC
                 DRAFT Incident Investigation Report DCCC
                 DRAFT Incident Investigation Report Democratic National Committee
         All unredacted copies, drafts and final reports relating to the hacking, theft and dissemination of DNC and
          DCCC data.

  Place:                                                            Date and Time:

  Bruce S. Rogow, P.A.                                              20 days after day of service
  100 N.E. Third Avenue, Suite 1000
  Fort Lauderdale, FL 33301
  (954) 767-8909
  Date:

                             CLERK OF COURT                                 OR


                                      Signature of Clerk or Deputy Clerk                      Attorney’s signature



  The name, address, e-mail address, and telephone number of the attorney representing (name of party) Roger
  J. Stone , who issues or requests this subpoena, are: Bruce S. Rogow, Tara A. Campion, Bruce S. Rogow, P.A.,
  100 N.E. Third Avenue, Suite 1000, Fort Lauderdale, FL 33301; (954) 767-8909; brogow@rogowlaw.com;
  tcampion@rogowlaw.com.
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                                                      PROOF OF SERVICE
                                  (This section should not be filed with the court unless required.)

            I received this subpoena for (name of individual and title, if any)
on (date)                            .

            ❒ I served the subpoena by delivering a copy to the named person as follows:


                                                                                  on (date)                            ; or

            ❒ I returned the subpoena unexecuted because:
                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                  .

My fees are $                                  for travel and $                       for services, for a total of $


            I declare under penalty of perjury that this information is true.


Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

Additional information regarding attempted service, etc.:




        Print                        Save As...               Add Attachment
                                                                                                                              Reset
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                                                                                     (ii) disclosing an unretained expert’s opinion or information that does
(c) Place of Compliance.                                                        not describe specific occurrences in dispute and results from the expert’s

  (1) For a Trial, Hearing, or Deposition. A subpoena may command a             study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial            (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or              (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
  (B) inspection of premises at the premises to be inspected.                      (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to correspond to the categories in the demand.
                                                                                   (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney           If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps       information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the            which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who         information in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                   of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to         order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of    reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,      made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to          (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                           (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                    (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on       motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,             subpoena or an order related to it.
development, or commercial information; or
